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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 REJON TAYLOR, et al.,

                              Plaintiffs,

                        vs.                                        1:25-cv-01161
                                                    Civil Case No. ____________________
 DONALD J. TRUMP, et al., in their official
 capacities,

                              Defendants.


                              DECLARATION OF DAVID PATTON

       I, David Patton, hereby declare under penalty of perjury as follows:

       1.      My full name is David Earl Patton.

       2.      My office address is Hecker Fink LLP, 350 Fifth Avenue, 63rd Floor, New York,

New York, 10118. My office telephone number is (212) 763-0883.

       3.      I am a member of the bars of the State of New York, the United States Court of

Appeals for the Second Circuit, the United States District Court for the Southern District of New

York, the United States District Court for the Eastern District of New York, and the Supreme Court

of the United States.

       4.      I certify that I have not been disciplined by any bar.

       5.      I am engaged in the full-time practice of law within the State of New York and have

not been admitted pro hac vice to the bar of this Court on any occasion in the last two years.
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Dated: April 16, 2025                    By:
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